                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ROANOKE DIVISION

 ALFONZA HARDY GREENHILL,                          )
                                                   )
                    Plaintiff,                     )     Case No. 7:16CV00068
                                                   )
 v.                                                )     OPINION AND ORDER
                                                   )
 HAROLD W. CLARKE, ET AL.,                         )     By: James P. Jones
                                                   )     United States District Judge
                    Defendants.                    )

       Alfonza Hardy Greenhill, Pro Se Plaintiff; Laura H. Cahill and Mary Grace
 Miller, Office of the Attorney General, Richmond, Virginia, for Defendants.

         The plaintiff, Alfonza Hardy Greenhill, a Virginia inmate proceeding pro se,

 filed this civil rights action under 42 U.S.C. § 1983 and the Religious Land Use

 and Institutionalized Persons Act (“RLUIPA”), 42 U.S.C. §§ 2000cc to 2000cc-5.

 Greenhill asserts that restrictive living conditions in long-term administrative

 segregation interfere with his ability to exercise his sincere religious beliefs related

 to group religious services, wearing a four-inch beard, and maintaining a religious

 diet.   After review of the record, I conclude that the defendants’ Motion for

 Summary Judgment must be granted in part and denied in part.

                                            I.

         Greenhill is serving a fifteen-year prison term in the custody of the Virginia

 Department of Corrections (“VDOC”) for convictions including assault, robbery,




Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 1 of 15 Pageid#: 459
 and firearms offenses. He is currently assigned to Red Onion State Prison (“Red

 Onion”). Red Onion and its sister facility, Wallens Ridge State Prison (“Wallens

 Ridge”), house all “Level S” inmates, reserved for inmates who must be managed

 in a segregation setting.1 Once in this status, a Level S inmate may participate in

 the Segregation Reduction Step-Down Program, designed to “create a pathway for

 offenders to step-down from Security level S to lower security levels in a manner

 that maintains public, staff and offender safety.” Mem. Supp. Mot. Summ. J.,

 Duncan Aff. Enclosure B, Operating Procedure (“OP”) 830.A(I), ECF No. 26-1.

       The Step Down Program is goal-oriented.             When inmates succeed in

 completing the established goals in each stage of the procedure, they are rewarded

 by moving to the next step and earning its additional privileges. An inmate’s status

 on a step-down pathway is formally reviewed every ninety days by the Institutional

 Classification Authority (“ICA”). At the most restrictive level of the inmate’s

 assigned pathway, he cannot attend group religious services, possess a television in

 his cell, or hold a job. If he completes certain goals of the Step Down Program,

 however, he may be assigned to less restrictive steps and earn back privileges,

 including the ability to have a paid job and use a personal television in his cell.



       1
             According to the current VDOC operating procedure for security level
 classification available online at http://www.vadoc.virginia.gov/about/procedures,
 inmates are classified to Level S based on various qualifying history of serious prison
 conduct, including violence and gang activity
                                           -2-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 2 of 15 Pageid#: 460
       After Greenhill arrived at Red Onion in February 2013, the ICA

 recommended him for assignment to the Structured Living Phase 1 pod. In this

 status under OP 830.A, inmates can have jobs and use a television in their cells,

 among other privileges. Greenhill refused to participate in the Step Down Program

 at that time, and as a result, he was assigned to the most restrictive step of the

 Special Management pathway, known as SM-0 status. In May 2014 Greenhill was

 assigned to the Secure Integration Pod Phase 1, where the privileges again included

 job possibilities and possessing a television in one’s cell. In September 2015

 however, Greenhill was returned to SM-0 status after he had incurred ten

 institutional disciplinary charges during the previous two years.

       Greenhill states that he has been a Muslim since 2000. He asserts that his

 Muslim faith requires him to participate in a weekly Jum’ah service with at least

 three other Muslims. He also contends that he cannot perform Jum’ah alone or

 with Red Onion’s Christian chaplain. As a Level S inmate, Greenhill cannot

 physically attend Jum’ah group services.       The prison broadcasts a videotaped

 version of Jum’ah that Level S inmates with personal televisions may watch once

 they have progressed beyond SM-0 status. Greenhill does not own a television and

 is classified at SM-0 status, so he cannot use a television or work to earn money

 toward purchasing one. No communal televisions are made available to Level S.




                                          -3-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 3 of 15 Pageid#: 461
       Greenhill also states that his Muslim faith requires him to grow and keep his

 beard trimmed to the length of his fist, or about four inches long. The VDOC’s

 grooming policy, OP 864.1, requires inmates to keep their beards trimmed to no

 longer than one-quarter inch. Since at least October 2015 Greenhill has worn his

 beard longer than allowed under OP 864.1. All violators of this policy must

 remain in segregated confinement unless they meet qualifications for transfer to the

 Grooming Policy Violators Housing Unit (“VHU”), a unit designated for special

 management of male inmates not in compliance with OP 864.1. At the time of this

 lawsuit, for eligibility to seek transfer to the VHU, Greenhill was required to

 complete the Challenge Series, serve a minimum of six months in segregation, and

 remain free of disciplinary charges for three to six months.

       Greenhill receives the Common Fare diet that is comprised of halal foods

 consistent with his Muslim dietary beliefs.      At mealtimes, officers place his

 Common Fare meal tray in the security box attached to his door so that he can

 retrieve the meal through the tray slot. Greenhill contends that the security box

 contaminates his meals, because at other times, he must place dirty clothes, shoes,

 and used cleaning materials in the box.

       Greenhill filed this lawsuit in early 2016 against three VDOC officials:

 Harold Clarke, Director; A. David Robinson, Chief of Operations; and Earl

 Barksdale, Warden of Red Onion.           The suit seeks monetary damages and


                                           -4-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 4 of 15 Pageid#: 462
 permanent injunctive relief.2 He contends that the defendants should adjust prison

 policies to accommodate his religious practices by allowing him to view the

 weekly Jum’ah service on a communal television in the pod area, in a nearby

 classroom or in person; by permitting him to maintain a four-inch-long beard

 without remaining in segregation; and by serving Common Fare meals in a manner

 that does not contaminate the serving trays. The defendants have moved for

 summary judgment, and Greenhill has responded, making the motion ripe for

 disposition.

                                          II.

                               A. Standard of Review.

       A court should grant summary judgment “if the movant shows that there is

 no genuine dispute as to any material fact and the movant is entitled to judgment as

 a matter of law.” Fed. R. Civ. P. 56(a). “As to materiality . . . [o]nly disputes over

 facts that might affect the outcome of the suit under the governing law will

 properly preclude the entry of summary judgment.” Anderson v. Liberty Lobby,

 Inc., 477 U.S. 242, 248 (1986). A dispute about a material fact is genuine “if the


       2
            I have already twice denied Greenhill’s separate motions for preliminary
 injunction. See Greenhill v. Clarke, No. 7:16CV00068, 2017 WL 1929669 (W.D. Va.
 May 10, 2017) (Jum’ah), aff’d, Greenhill v. Clarke, 699 F. App’x 280 (4th Cir. 2017)
 (unpublished); Greenhill v. Clarke, No. 7:16CV00068, 2016 WL 1179225 (W.D. Va.
 Mar. 23, 2016), aff’d in part regarding the grooming policy and halal food service
 claims, remanded as to Jum’ah claim, No. 16-6542, 2016 WL 7414198 (4th Cir. Dec. 22,
 2016) (unpublished).
                                          -5-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 5 of 15 Pageid#: 463
 evidence is such that a reasonable jury could return a verdict for the nonmoving

 party.” Id. I must draw all reasonable inferences from the facts in favor of

 Greenhill, the nonmoving party. Williams v. Staples, Inc., 372 F.3d 662, 667 (4th

 Cir. 2004).

                                B. First Amendment Claims.

       Under the Free Exercise Clause of the First Amendment, prison officials

 must reasonably accommodate an inmate’s exercise of his sincerely held religious

 beliefs. O’Lone v. Estate of Shabazz, 482 U.S. 342, 350 (1987). To prove a

 violation of this right, an inmate must first state facts sufficient to show that the

 challenged prison regulation substantially burdens his right to free exercise of a

 sincerely held religious belief. Lovelace v. Lee, 472 F.3d 174, 187 (4th Cir. 2006).

 In this context, “a substantial burden is one that puts substantial pressure on an

 adherent to modify his behavior and to violate his beliefs.” Id. (internal quotation

 marks and citation omitted).

       Because “courts are ill equipped to deal with the increasingly urgent

 problems of prison administration,” Procunier v. Martinez, 416 U.S. 396, 405

 (1974), they must defer to the expertise of prison officials in crafting policies

 addressing those problems, such as security, discipline, and efficient use of limited

 resources; therefore, a prison regulation that substantially burdens inmates’

 religious practices is, nevertheless, “valid if it is reasonably related to legitimate


                                          -6-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 6 of 15 Pageid#: 464
 penological interests.” Id. at 199 (quoting Turner v. Safley, 482 U.S. 78, 89

 (1987). This determination turns on a four-factor test: (1) “whether there is a valid,

 rational connection between the prison regulation” and the asserted government

 interest; (2) whether Greenhill was “deprived of all forms of religious exercise or

 whether [he was] able to participate in other observances of [his] faith; (3) what

 impact the desired accommodation would have on security staff, inmates, and the

 allocation of prison resources; and (4) “whether there exist any obvious, easy

 alternatives to the challenged regulation.” Id. at 200 (internal quotation marks and

 citation omitted).

       The defendants do not challenge the sincerity of Greenhill’s Muslim beliefs.

 Rather, they argue that Greenhill’s First Amendment claims fail under the four-

 factor Turner test and/or the substantial burden requirement. I agree.

       Given the violent, disruptive histories of the inmates classified to Level S,

 Red Onion officials clearly have legitimate security interests that are furthered by

 keeping Level S inmates physically separate from each other and from other

 inmates. See Morrison v. Garraghty, 239 F.3d 648, 660 (4th Cir. 2001) (“Without

 question, prison safety and security is a legitimate, indeed compelling, penological

 interest.”). The defendants also assert that the VDOC has a legitimate penological

 interest in the success of the Step Down Program to maintain order, motivate

 inmates to reduce disruptive and dangerous behaviors, and promote the successful


                                          -7-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 7 of 15 Pageid#: 465
 re-entry of a Level S inmate post-incarceration.        They contend that current

 restrictions on SM-0 inmates’ privileges, including the television ban, are

 rationally related to and further this interest by maintaining incentives for inmates

 to participate in the Step-Down Program. I so find.

       Moreover, I also find that Greenhill can practice his religious beliefs in

 many ways other than group service participation. As consistent with his religious

 beliefs, he may engage in personal study of religious texts and prayer in his cell, he

 receives Common Fare meals, and he may grow his beard. Finally, I find that

 Greenhill fails to demonstrate any readily available alternative means to provide

 the requested Jum’ah access and accomplish the purposes of the step-down

 program to the same extent without additional financial and staffing costs. Thus, I

 conclude that the defendants are entitled to summary judgment on Greenhill’s First

 Amendment claim that SM-0 regulations violate his free exercise right related to

 group religious services.

       Similarly, the VDOC’s quarter-inch beard limit meets the factors of the

 Turner test. This court has held that the current VDOC grooming policy on beard

 length is reasonably related to legitmate prison security interests. See Bayadi v.

 Clarke, No. 7:15CV00618, 2017 WL 4248522, at *8 (W.D. Va. Sept. 25, 2017)

 (Moon, J.). In the Bayadi case, the court found that:

       Bayadi does not show that it is unreasonable for the VDOC to prohibit
       inmates from growing beards of indeterminate length while housed in
                                          -8-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 8 of 15 Pageid#: 466
       general population. There is a “valid, rational connection” between
       regulating beard length and defendants’ explanations about security
       and sanitation. See Lovelace, 472 F.3d at 182, 190 (stating
       “emphatically that any substantive explanation offered by the prison
       must be viewed with due deference”). . . . [T]he government has
       legitimate penological interests in identification of inmates,
       preventing the spread of contraband, and inmate hygiene. There is a
       rational connection between OP 864.1’s beard length restrictions and
       these interests. . . . [I]t is Bayadi’s burden to disprove the
       reasonableness of these regulations — and he has not done so.

 Id. I find the reasoning in Bayadi to be persuasive. As such, I also find that the

 defendants in this case have satisfied the rational relationship aspect of the Turner

 standard. Greenhill is able to maintain his beard at the desired length and to

 practice other aspects of his religious beliefs. Finally, he fails to show any easy

 alternatives to address to the same extent the security concerns presented by his

 four-inch beard. Therefore, I will grant summary judgment for the defendants on

 Greenhill’s First Amendment claim regarding his beard.

       I also find no merit to Greenhill’s First Amendment claim that current tray

 box procedures violate his religious dietary practices. The defendants’ undisputed

 evidence is that each inmate is responsible for keeping his tray box clean as part of

 his cell. An inmate receives two sponges for cell cleaning, replaced as needed

 upon request. Once each week, he is also provided cleaning chemicals. Greenhill

 complains that this cleaning system does not meet Muslim standards that require

 any item touching food to be rinsed three times in clean water. He proposes that



                                          -9-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 9 of 15 Pageid#: 467
  officials should use portable tray boxes and maintain one to be used only for halal

  meals.

        The defendants’ refusal to follow Greenhill’s portable box proposal does not

  violate the First Amendment. First, Greenhill fails to show any substantial burden

  on his religious dietary beliefs. The two sponges provided allow Greenhill to

  reserve one sponge to clean his tray box after every transaction, while using the

  other sponge for cleaning other parts of his cell.         Prison practices do not

  substantially burden an inmate’s rights if they merely make his “religious exercise

  more expensive or difficult,” but fail to pressure the adherent to violate his

  religious beliefs or abandon one of the precepts of his religion. Living Water

  Church of God v. Charter Twp. of Meridian, 258 F. App’x 729, 739 (6th Cir.

  2007). Second, the two sponge practice meets the Turner test factors. It clearly

  furthers the prison’s interests in keeping costs low and teaching inmates

  responsibility.   Greenhill may comply with his dietary beliefs by eating his

  Common Fare meals and keeping his tray box clean himself, and he has presented

  no easy alternatives that would both accommodate his concerns over cleanliness

  and further prison interests to a similar extent. Finding no genuine material fact in

  dispute, I will grant the defendants’ Motion for Summary Judgment on this claim.

        Finally, I will grant the defendants’ motion as to Greenhill’s complaint that

  the defendants’ failure to provide a communal television for Level S inmates


                                          -10-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 10 of 15 Pageid#: 468
  violates OP 830.A, the Step Down procedure. 3 State officials’ failure to abide by

  state procedural regulations is not a federal due process issue, and is, therefore, not

  actionable under § 1983. Riccio v. Cty. of Fairfax, 907 F.2d 1459, 1469 (4th Cir.

  1990) (“If state law grants more procedural rights than the Constitution would

  otherwise require, a state’s failure to abide by that law is not a federal due process

  issue.”); see also United States v. Caceres, 440 U.S. 741, 751-52 (1979) (where a

  government agency is not constitutionally required to adopt certain regulations, a

  violation of those regulations, without more, does not “raise any constitutional

  questions”).

                                  C. RLUIPA Claims.

        RLUIPA provides federal statutory protection of prisoners’ religious

  exercise under a stricter legal standard: “RLUIPA prohibits [state] prisons from

  imposing a substantial burden on an inmate’s religious exercise unless prison

  officials can demonstrate that the burden furthers a compelling governmental

  interest by the least restrictive means.” Miles v. Moore, 450 F. App’x 318, 319

  (4th Cir. 2011) (unpublished) (citing 42 U.S.C. § 2000cc-1(a)).           A RLUIPA

  analysis consists of two steps.     First, the inmate “bears the initial burden to

  demonstrate that the prison’s policy exacts a substantial burden on religious


        3
           Appendix G to OP 830.A indicates that inmates at all levels of the SM pathway
  will be provided with a television to watch education and religious programming. Mem.
  Supp. Mot. Summ. J., Duncan Aff. Enclosure B, ECF No. 26-1.
                                           -11-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 11 of 15 Pageid#: 469
  exercise.” Incumaa v. Stirling, 791 F.3d 517, 525 (4th Cir. 2015). For purposes of

  a RLUIPA claim, “a substantial burden on religious exercise occurs when a state or

  local government, through act or omission, ‘put[s] substantial pressure on an

  adherent to modify his behavior and to violate his beliefs.’” Lovelace, 472 F.3d at

  187 (quoting Thomas v. Review Bd. of Ind. Emp’t Sec. Div., 450 U.S. 707, 718

  (1981)).   Only if the inmate proves that there is a substantial burden on his

  religious practice, does “the burden shift[] to the government to prove its policy

  furthers a compelling governmental interest by the least restrictive means.”

  Incumaa, 791 F.3d at 525.

        Greenhill raises all three of his claims under RLUIPA as well as the First

  Amendment. All of Greenhill’s claims under RLUIPA fail to the extent that he

  seeks monetary damages, because such relief is not available under RLUIPA. See,

  e.g., Sossamon v. Texas, 563 U.S. 277, 285-86 (2011) (finding damages not

  recoverable against defendants in their official capacities under RLUIPA);

  Rendelman v. Rouse, 569 F.3d 182, 189 (4th Cir. 2009) (finding no RLUIPA claim

  for damages available against defendants in their individual capacities).         In

  addition, I conclude that Greenhill’s third claim, regarding tray box cleanliness,

  fails under the substantial burden facet of the RLUIPA standard, just as in the First

  Amendment analysis.       Therefore, I will grant summary judgment for the

  defendants on the tray box claim and on all claims for monetary damages.


                                          -12-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 12 of 15 Pageid#: 470
        The defendants argue that they are entitled to summary judgment on

  Greenhill’s beard length claim under a prior decision of this court, Coleman v.

  Jabe, No. 7:11CV518, 2014 WL 2040097 (W.D. Va. May 16, 2014) (upholding

  VDOC grooming policy under RLUIPA). The defendants also argue for summary

  judgment on Greenhill’s claim concerning his inability as a Level S inmate to

  participate in Jum’ah services, based on their contention that he fails to show how

  the VDOC policies at issue have substantially burdened his religious practice.

        The defendants contend that prison officials have provided an avenue for

  Level S inmates who are Muslim to participate in Jum’ah by participating in the

  Step Down Program to achieve greater privilege levels where they can work to

  earn money to buy a television, and thereby participate in the Jum’ah broadcast.

  They also argue that Level S inmates who also refuse to comply with the VDOC

  grooming standards have the potential for transfer to the VHU.

        Greenhill states, however, that “[u]ntil [he] complies with the VDOC’s

  beard length limitation (which is something he has vowed to Allah never to do), he

  will not be permitted to attain institutional employment” to purchase a television.

  Compl. 3, ECF No. 1. He also asserts that his failure to comply with the beard

  grooming requirements will prevent him from progressing in the Step Down

  Program as he must do to become eligible for transfer to the VHU. See Greenhill

  Decl. 3, ECF No. 31. Greenhill also points out the absence of evidence in the


                                          -13-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 13 of 15 Pageid#: 471
  record that even if he were transferred to the VHU, he would be able to participate

  in Jum’ah. The defendants have not addressed these facts and arguments, and I

  find them critical to any determination of Greenhill’s remaining RLUIPA claims. I

  also note that the Bayadi decision, issued after the defendants filed their motion,

  denied summary judgment for prison officials on these same claims, in

  contravention of the defendants’ reliance here on the Coleman decision. For these

  reasons, I will deny the defendants’ motion as to Greenhill’s RLUIPA claims

  regarding the beard length policy and the policies affecting his ability to participate

  in Jum’ah. I will, however, grant the defendants an opportunity to submit a

  supplemental motion for summary judgment.

                                               III.

        In accordance with the foregoing, it is ORDERED that the defendants’

  Motion for Summary Judgment (ECF No. 25) is GRANTED IN PART AND

  DENIED IN PART. The motion is DENIED as to Greenhill’s claims under

  RLUIPA against the defendants in their official capacities for injunctive relief

  regarding beard length and Jum’ah participation and the motion is GRANTED as

  to all other claims. The defendants are granted leave to file a supplemental motion

  for summary judgment within 28 days of the date of entry of this Opinion and

  Order or the matter will be set for trial.




                                               -14-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 14 of 15 Pageid#: 472
                                             ENTER: December 15, 2017

                                             /s/ James P. Jones
                                             United States District Judge




                                      -15-

Case 7:16-cv-00068-JPJ-RSB Document 53 Filed 12/15/17 Page 15 of 15 Pageid#: 473
